                Case 2:11-cr-00099-WKW-SRW Document 80 Filed 01/12/21 Page 1 of 2
AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 1



                                     UNITED STATES DISTRICT COURT
                                    Middle District
                                 __________ Districtofof
                                                      Alabama
                                                         __________
                                               )
           UNITED STATES OF AMERICA            ) JUDGMENT IN A CRIMINAL CASE
                      v.                       ) (For Revocation of Probation or Supervised Release)
                                               )                           ZR
             KENTON MAURICE HALL               )
                                               ) Case No. 2:11cr99-WKW-01
                                               ) USM No. 13616-002
                                               )
                                               ) Christine Freeman
                                                                                            Defendant’s Attorney
THE DEFENDANT:
✔ admitted guilt to violation of condition(s)
G                                                        1                          of the term of supervision.
G was found in violation of condition(s) count(s)                              after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                           Violation Ended
1                             The defendant committed another federal, state or local crime                02/24/2020




       The defendant is sentenced as provided in pages 2 through        2      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has not violated condition(s)                           and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.: 6755                                             01/11/2021
                                                                                       Date of Imposition of Judgment
Defendant’s Year of Birth:          1980
                                                                                           /s/ W. Keith Watkins
City and State of Defendant’s Residence:                                                      Signature of Judge
Montgomery, AL
                                                                          W. KEITH WATKINS, United States District Judge
                                                                                            Name and Title of Judge


                                                                                                01/12/2021
                                                                                                        Date
               Case 2:11-cr-00099-WKW-SRW Document 80 Filed 01/12/21 Page 2 of 2
AO 245D (Rev. 09/19)   Judgment in a Criminal Case for Revocations
                       Sheet 2— Imprisonment
                                                                                                  Judgment — Page   2       of   2
DEFENDANT: KENTON MAURICE HALL
CASE NUMBER: 2:11cr99-WKW-01


                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
term of :
Twenty Four (24) Months. This sentence is to run concurrently with the sentence defendant is currently serving in the
Alabama Department of Corrections that has an earliest release date of April 1, 2025. The TERM of Supervised
Release imposed on January 24, 20 is REVOKED.


     G The court makes the following recommendations to the Bureau of Prisons:




     G The defendant is remanded to the custody of the United States Marshal.

     G The defendant shall surrender to the United States Marshal for this district:
         G    at                                 G a.m.         G p.m.       on                                         .
         G    as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         G    before 2 p.m. on                                           .
         G    as notified by the United States Marshal.
         G    as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                        to

at                                                  with a certified copy of this judgment.




                                                                                               UNITED STATES MARSHAL


                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL
